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Burlingame III Exhibit A-1
                                             Estate & Solatium Claimants - U.S. Nationals - Damages Sought Under Anti-Terrorism Act (ATA)




                                                                                     PLAINTIFF MIDDLE




                                                                                                                                        RELATIONSHIP TO
                                              9/11 DECEDENT'S
                                                                                                                                                                              MDL ECF -




                                                                                                                       PLAINTIFF'S




                                                                                                                                           DECEDENT
                       9/11                                                                                                                                                    Plaintiff's                     Prior Solatium
          9/11                     9/11




                                                                                                                         SUFFIX
                                                                                                                                                            MDL ECF-                          MDL ECF -                          Prior Economic                        Treble Damages




                                                   SUFFIX




                                                                                          NAME
                   DECEDENT'S                                     PLAINTIFF                             PLAINTIFF                                                              Liability                      Damages or Pain                         Compensatory
      DECEDENT'S                DECEDENT'S                                                                                                                Plaintiff's Claim                  Prior Solatium                       Loss Damages                          Sought Here
#




                     MIDDLE                                      FIRST NAME                             LAST NAME                                                             Judgment                         and Suffering                            Damages
      FIRST NAME                LAST NAME                                                                                                                 Against Taliban                        Award                               Award                             under the ATA
                      NAME                                                                                                                                                      Against                            Award
                                                                                                                                                                                Taliban


                                                                Debra Lavender,
                                                                as Personal
 1   Michael                    Bocchino                                                                Bocchino                     Parent               1463; 8721; 8729       1797            3987         $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                Representative of
                                                                the Estate of Lucy

                                                                Debra Lavender,
                                                                as Personal
 2   Michael                    Bocchino                        Representative of                       Bocchino                     Parent               1463; 8721; 8729       1797            3987         $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                the Estate of
                                                                Michael
                                                                                                                                                                                               02-cv-7230
 3   Bruce                      Boehm                           Stacey                                  Boehm                        Child                   1463: 8723          1797        (S.D.N.Y.) ECF   $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                                                                                                                                                   78
                                                                                                                                                                                               02-cv-7230
 4   Bruce                      Boehm                           Brittany                                Weber                        Child                   1463: 8723          1797        (S.D.N.Y.) ECF   $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                                                                                                                                                   78
 5   Bruce                      Boehm                           Jeffrey                                 Boehn                        Sibling              1463; 8721; 8729       1797             8231        $   4,250,000.00                    $     4,250,000.00 $     12,750,000.00
                                                                Jeffrey Boehm, as
                                                                Personal
 6   Bruce                      Boehm                           Representative of                       Boehm                        Parent               1463; 8721; 8729       1797            8231         $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                the Estate of
                                                                Dorothy
                                                                                                                                                                                               02-cv-7230
 7   Peter                      Brennan                         Anna                                    Brennan                      Child                   1463: 8723          1797        (S.D.N.Y.) ECF   $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                                                                                                                                                   78
                                                                                                                                                                                               02-cv-7230
 8   Peter                      Brennan                         Connor                                  Brennan                      Child                   1463: 8723          1797        (S.D.N.Y.) ECF   $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                                                                                                                                                   78

                                                                Nancy Poulis, as
                                                                Personal
 9   Peter                      Brennan                                                                 Brennan                      Parent               1463; 8721; 8729       1797            4087         $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                Representative of
                                                                the Estate Vincent

10   Peter                      Brennan                         Ecaterini                               Brennan                      Parent               1463; 8721; 8729       1797            4087         $   8,500,000.00                    $     8,500,000.00   $   25,500,000.00
11   Peter                      Brennan                         Nancy                                   Poulis                       Sibling              1463; 8721; 8729       1797            4087         $   4,250,000.00                    $     4,250,000.00   $   12,750,000.00
12   Peter                      Brennan                         Gary                                    Brennan                      Sibling              1463; 8721; 8729       1797            4707         $   4,250,000.00                    $     4,250,000.00   $   12,750,000.00
13   Peter                      Brennan                         Kathi                                   Ezzo-Talbott                 Sibling              1463; 8721; 8729       1797            4707         $   4,250,000.00                    $     4,250,000.00   $   12,750,000.00
14   Vincent                    Brunton                         Kelly                Ann                Pearn                        Child                1463; 8721; 8729       1797            3987         $   8,500,000.00                    $     8,500,000.00   $   25,500,000.00
15   Vincent                    Brunton                         Thomas                                  Brunton                      Child                1463; 8721; 8729       1797            3987         $   8,500,000.00                    $     8,500,000.00   $   25,500,000.00
16   Vincent                    Brunton                         Michael                                 Brunton                      Sibling              1463; 8721; 8729       1797            3987         $   4,250,000.00                    $     4,250,000.00   $   12,750,000.00
17   Vincent                    Brunton                         Maryann                                 DeLuise                      Sibling              1463; 8721; 8729       1797            3987         $   4,250,000.00                    $     4,250,000.00   $   12,750,000.00
18   Vincent                    Brunton                         Thomas                                  Brunton                      Sibling              1463; 8721; 8729       1797            3987         $   4,250,000.00                    $     4,250,000.00   $   12,750,000.00
                                                                                                        Chevalier
19 Swede                        Chevalier                       Tylia                                                                Sibling              1463; 8721; 8729       1797            3987         $   4,250,000.00                    $     4,250,000.00 $     12,750,000.00
                                                                                                        Furgal
20 Pamela                       Chu                             Gloria                                  Chu                          Parent               1463; 8721; 8729       1797             3987        $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                                                                                                                                               02-cv-7230
21 Anthony                      Coladonato                      Alex                                    Coladonato                   Child                1463; 8721; 8729       1797        (S.D.N.Y.) ECF   $   8,500,000.00                    $     8,500,000.00 $     25,500,000.00
                                                                                                                                                                                                   78
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                                                                                                                          02-cv-7230
22 Anthony        Coladonato       Anthony                    Coladonato      III   Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                              78
23 Anthony        Coladonato       Salvatore                  Coladonato            Sibling   1463; 8721; 8729   1797        4087        $    4,250,000.00                 $     4,250,000.00 $   12,750,000.00
                                   Melinda Cooper-
                                   Savage, as
                                                                                                                          18-cv-08297
                                   Personal
   Julian         Cooper                                      Cooper                Self      1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    2,000,000.00 $   3,571,366.00 $    5,571,366.00 $   16,714,098.00
                                   Representative of
                                                                                                                               35
                                   the Estate of
                                   Julian
                                                                                                                          18-cv-08297
   Julian         Cooper           Melinda                    Cooper-Savage         Spouse    1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   12,500,000.00                 $    12,500,000.00 $   37,500,000.00
                                                                                                                               27
                                                                                                                          18-cv-08297
   Julian         Cooper           Julianah                   Cooper                Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                               27
   Julian         Cooper           Marie               Annette Dory                 Sibling   1463; 8721; 8729   1797        4170        $    4,250,000.00                 $     4,250,000.00 $   12,750,000.00
                                                               Cooper-
   Julian         Cooper           Darlene                                          Sibling   1463; 8721; 8729   1797       4170         $    4,250,000.00                 $     4,250,000.00 $   12,750,000.00
                                                               Canady

                                   Marie Annette
                                                                                                                          18-cv-08297
                                   Dory, as Personal
   Julian         Cooper                              Marie   Cooper                Parent    1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                   Representative of
                                                                                                                               27
                                   the Estate of Rosa


                                   Marie Annette
                                   Dory, as Personal                                                                      18-cv-08297
   Julian         Cooper           Representative of Phillip Cooper                 Sibling   1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    4,250,000.00                 $     4,250,000.00 $   12,750,000.00
                                   the Estate of                                                                               27
                                   Delman

                                                                                                                          02-cv-7230
24 James     E.   Cove             Michael                    Cove                  Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                              78
                                                                                                                          02-cv-7230
25 James     E.   Cove             Gregory                    Cove                  Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                              78
                                   Susan Nolan, as
                                   Personal                                                                               18-cv-11340
   Thomas         Cullen           Representative of         Cullen                 Self      1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    2,000,000.00 $   6,597,229.00 $    8,597,229.00 $   25,791,687.00
                                   the Estate of                                                                               29
                                   Thomas
   Thomas         Cullen           Susan                     Nolan                  Spouse    1463; 8721; 8729   1797        5102        $   12,500,000.00                 $    12,500,000.00 $   37,500,000.00
   Thomas         Cullen           Thomas            Patrick Cullen Nolan           Child     1463; 8721; 8729   1797        5102        $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                          02-cv-7230
26 Scott          Davidson         Peter                      Davidson              Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                              78
                                                                                                                          02-cv-7230
27 Scott          Davidson         Casey                      Davidson              Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                              78
                                                                                                                          02-cv-7230
28 Donald         Delapenha        Samantha                   Delapenha             Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                              78
                                                                                                                          02-cv-7230
29 Donald         Delapenha        Robert                     Delapenha             Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $     8,500,000.00 $   25,500,000.00
                                                                                                                              78
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                                                                                                                         02-cv-7230
30 Donald                  Delapenha       Madison                     Delapenha   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
31 Donald                  Delapenha       Terry                       Stella      Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                           Terry Stella, as
                                           Personal
32 Donald                  Delapenha       Representative of           Butterly    Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                           the Estate of
                                           Judith
33   Thomas                Dennis          Lauren                      Dennis      Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
34   Thomas                Dennis          Thomas                      Dennis      Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
35   Eddie                 Dillard         Major                       Dillard     Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
36   Eddie                 Dillard         Andy                        Dillard     Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
                                                                                                                         02-cv-7230
37 William                 Dimmling        Gregory                     Dimmling    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
38 William                 Dimmling        Nicholas                    Dimmling    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                           Rudy Dimmling,
                                           as Personal
39 William                 Dimmling        Representative of           Dimmling    Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                           the Estate of
                                           Charlotte
40 William                 Dimmling        Rudy                        Dimmling    Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                           Sekou Agard and
                                           Lisa Newton, as
                                           Co-Personal
41 William                 Dimmling                                    Dimmling    Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                           Representatives of
                                           the Estate of
                                           Elaine
                                                                                                                         02-cv-7230
42 James                   Domanico        Christina                   Kurinzi     Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
43 Carlos                  Dominguez       Amanda               Rose   Dominguez   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
44 Carlos                  Dominguez       Michelle                    Dominguez   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
45 Carlos                  Dominguez       Maria                       Dominguez   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
46 Mary          Yolanda   Dowling         Andy                        Dowling     Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                                                                                                         02-cv-7230
47 Charles                 Droz            Shannon              Rae    Droz        Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
48 Christopher             Faughnan        Siena                       Faughnan    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
49 Christopher             Faughnan        Juliet                      Faughnan    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
50 Christopher             Faughnan        Liam                        Faughnan    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
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51   Christopher   Faughnan         Thomas               Faughnan     Parent       1463; 8721; 8729   1797        3987        $    8,500,000.00                 $    8,500,000.00   $   25,500,000.00
52   Christopher   Faughnan         Joan                 Faughnan     Parent       1463; 8721; 8729   1797        3987        $    8,500,000.00                 $    8,500,000.00   $   25,500,000.00
53   Christopher   Faughnan         Thomas               Faughnan     Sibling      1463; 8721; 8729   1797        4707        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
54   Christopher   Faughnan         Diane                Barnes       Sibling      1463; 8721; 8729   1797        3987        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
55   Christopher   Faughnan         Lynn                 Lee          Sibling      1463; 8721; 8729   1797        3987        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
56   Christopher   Faughnan         Ellen                Sleevi       Sibling      1463; 8721; 8729   1797        3987        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
57   Christopher   Faughnan         Maureen              Stines       Sibling      1463; 8721; 8729   1797        3987        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
58   Christopher   Faughnan         Kerri                Hecox        Sibling      1463; 8721; 8729   1797        4707        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
59   Christopher   Faughnan         Michael              Faughnan     Sibling      1463; 8721; 8729   1797        4707        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
60   Bradley       Fetchet          Christopher          Fetchet      Sibling      1463; 8721; 8729   1797        3987        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
61   Bradley       Fetchet          Wesley               Fetchet      Sibling      1463; 8721; 8729   1797        3987        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
                                                                                                               02-cv-7230
62 Michael         Finnegan         Bridget              Finnegan     Child          1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $    8,500,000.00 $     25,500,000.00
                                                                                                                   78
                                                                                                               02-cv-7230
63 Michael         Finnegan         Michael              Finnegan     Child          1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $    8,500,000.00 $     25,500,000.00
                                                                                                                   78
                                                                                                               02-cv-7230
64 Michael         Finnegan         Francis              Finnegan     Child          1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $    8,500,000.00 $     25,500,000.00
                                                                                                                   78
65   Michael       Finnegan         Frank                Finnegan     Parent       1463; 8721; 8729   1797        3987        $    8,500,000.00                 $    8,500,000.00   $   25,500,000.00
66   Michael       Finnegan         Beverly              Finnegan     Parent       1463; 8721; 8729   1797        3987        $    8,500,000.00                 $    8,500,000.00   $   25,500,000.00
67   Michael       Finnegan         Katherine            Finnegan     Sibling      1463; 8721; 8729   1797        4087        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
68   Richard       Fitzsimons       Sean                 Fitzsimons   Child        1463; 8721; 8729   1797        3987        $    8,500,000.00                 $    8,500,000.00   $   25,500,000.00
69   Richard       Fitzsimons       Colleen              Fitzsimons   Child        1463; 8721; 8729   1797        3987        $    8,500,000.00                 $    8,500,000.00   $   25,500,000.00
70   Richard       Fitzsimons       Patrick              Fitzsimons   Sibling      1463; 8721; 8729   1797        3987        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00
71   Richard       Fitzsimons       Robert               Fitzsimons   Sibling      1463; 8721; 8729   1797        4087        $    4,250,000.00                 $    4,250,000.00   $   12,750,000.00

                                    Chava Furman and
                                    Andrew Furman
                                                                                                               18-cv-08297
                                    as Co-Personal
     Steven        Furman                                Furman       Self         1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    2,000,000.00 $   9,181,844.00 $ 11,181,844.00 $      33,545,532.00
                                    Representatives of
                                                                                                                    35
                                    the Estate of
                                    Steven

                                                                                                               18-cv-08297
     Steven        Furman           Chava                Furman       Spouse       1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   12,500,000.00                 $   12,500,000.00 $     37,500,000.00
                                                                                                                    27
                                                                                                               18-cv-08297
     Steven        Furman           Nissan               Furman       Child        1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $    8,500,000.00 $     25,500,000.00
                                                                                                                    27
                                                                                                               18-cv-08297
     Steven        Furman           Sarah Rachel         Furman       Child        1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $    8,500,000.00 $     25,500,000.00
                                                                                                                    27
                                                                                                               18-cv-08297
     Steven        Furman           Menashe              Furman       Child        1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00                 $    8,500,000.00 $     25,500,000.00
                                                                                                                    27
     Steven        Furman           Andrew               Furman       Sibling      1463; 8721; 8729   1797        4170        $    4,250,000.00                 $    4,250,000.00 $     12,750,000.00
     Steven        Furman           Jayne                Furman       Sibling      1463; 8721; 8729   1797        4170        $    4,250,000.00                 $    4,250,000.00 $     12,750,000.00
     Steven        Furman           Michael              Furman       Sibling      1463; 8721; 8729   1797        4170        $    4,250,000.00                 $    4,250,000.00 $     12,750,000.00
                                    Janis Lilie, as
                                    Personal
     Steven        Furman           Representative of    Furman       Stepparent   1463; 8721; 8729   1797       4170         $    8,500,000.00                 $    8,500,000.00 $     25,500,000.00
                                    the Estate of
                                    Harold
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                                                                                                          18-cv-08297
    Steven   Furman         Marvin                     Furman       Parent    1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                               27

                            Jayne Furman and
                            Michael Furman,
    Steven   Furman         as Co-Personal             Lilie        Parent    1463; 8721; 8729   1797       4170         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                            Representatives of
                            the Estate of Joyce

72 Peter     Genco          Peter                      Genco        Parent    1463; 8721; 8729   1797       5453         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
73 Peter     Genco          Barbara                    Genco        Parent    1463; 8721; 8729   1797       5453         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                       Genco
74 Peter     Genco          Jennifer                                Sibling   1463; 8721; 8729   1797       5453         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                       Harrington

                            Kyle Peter Brown
                            & Harrison Scott
                            Brown, as Co-
75 Peter     Genco          Personal           Tanis   Genco        Sibling   1463; 8721; 8729   1797       5453         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                            Representatives of
                            the Estate of
                            Christina

                                                                                                          02-cv-7230
76 James     Geyer          Matthew                    Geyer        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
77 James     Geyer          Michele                    Geyer Meo    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
78 James     Geyer          Laura                      Geyer        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
79 Laura     Gilly          Paul                       Gilly        Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
80 Andrew    Golkin         Janet                      Golkin       Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
81 Andrew    Golkin         Susan                      Golkin       Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                          02-cv-7230
82 Enrique   Gomez          Jeannette                  Gomez        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
83 Enrique   Gomez          Angeline                   Gomez        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
84 Enrique   Gomez          Enrique                    Gomez        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
85 Jose      Gomez          Melissa                    Gomez        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
86 Jose      Gomez          Joann                      Soto         Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
87 Jose      Gomez          Joanna                     Tirone       Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              78
                                                                                                          02-cv-7230
                                                       Earthman
88 Elvira    Granitto       Anne                                    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                       Salonia
                                                                                                              78
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                                                                                                                         02-cv-7230
89 Elvira       Granitto           Damien                      Earthman            Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
90 Elvira       Granitto           Cosimo                      Granitto            Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00 $     25,500,000.00

                                   Sandra Munro and
                                   Mario Granitto, as
91 Elvira       Granitto           Co-Personal                 Granitto            Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                   Representatives of
                                   the Estate of Anna

92 Elvira       Granitto           Mario                       Granitto            Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
93 Elvira       Granitto           Filippa                     Granitto            Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                                                                                                         02-cv-7230
                                                               Heidenberger
94 Michele      Heidenberger       Alison                                          Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                               Coffey
                                                                                                                             78
                                                                                                                         02-cv-7230
95 Michele      Heidenberger       Thomas                      Heidenberger   II   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
96 Michele      Heidenberger       Diane                       Johnson             Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
97 Michele      Heidenberger       Karen                       DeNino              Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
98 Michele      Heidenberger       Suzanne                     Bennett             Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00

                                   Suzanne Bennett
                                   and Karen
                                   DeNino, as Co-
99 Michele      Heidenberger                                   MacDonald           Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                   Personal
                                   Representatives of
                                   the Estate of Mary

                                                                                                                         02-cv-7230
100 H. Joseph   Heller             Michael                     Heller              Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
101 H. Joseph   Heller             Catherine                   Heller              Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
102 H. Joseph   Heller             John                        Heller              Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
103 H. Joseph   Heller             Grace                       Heller              Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                             78
104 H. Joseph   Heller             Howard                      Heller              Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
105 H. Joseph   Heller             Roberta                     Heller              Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
106 H. Joseph   Heller             Colleen                     Rastovich           Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
107 H. Joseph   Heller             Robert                      Heller              Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
108 H. Joseph   Heller             Mary                 Beth   Luedtke             Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
109 Aram        Iskenderian        Meryl                       Iskenderian         Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
110 Aram        Iskenderian        Kara                        Iskenderian         Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
111 Aram        Iskenderian        Jason                       Iskenderian         Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
112 Aram        Iskenderian        Alex                        Iskenderian         Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
113 Francois    Jean-Pierre        Jean                 Henold Jean-Pierre         Child     1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
114 Francois    Jean-Pierre        Sherley                     Jean-Pierre         Child     1463; 8721; 8729   1797        8231        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
                                   Roody aka
115 Francois    Jean-Pierre                                    Jean-Pierre         Child     1463; 8721; 8729   1797       8231         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                   "Roudy"
116 Frederick   Kelley             Sean                        Kelley              Child     1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
117 Frederick   Kelley             Frederick                   Kelley              Child     1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
118 Frederick   Kelley             Katherine                   Van Kirk            Child     1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
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119 Frederick   Kelley       Kristen              Roberts              Child     1463; 8721; 8729   1797       3987         $    8,500,000.00   $    8,500,000.00 $     25,500,000.00

                             Sean Kelley, as
                             Personal
120 Frederick   Kelley                            Kelley               Parent    1463; 8721; 8729   1797       4707         $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                             Representative of
                             the Estate of Mary

121 Vanessa     Kolpak       Alexis               Kolpak               Sibling   1463; 8721; 8729   1797       3987         $    4,250,000.00   $    4,250,000.00   $   12,750,000.00
122 Vanessa     Kolpak       Thaddeus             Kolpak               Sibling   1463; 8721; 8729   1797       3987         $    4,250,000.00   $    4,250,000.00   $   12,750,000.00
123 John        Kren         Andrea               Sassone              Child     1463; 8721; 8729   1797       3987         $    8,500,000.00   $    8,500,000.00   $   25,500,000.00
124 John        Kren         Janine               Wentworth            Child     1463; 8721; 8729   1797       3987         $    8,500,000.00   $    8,500,000.00   $   25,500,000.00
                             Anna Kren, as
                             Personal
125 John        Kren         Representative of    Kren                 Parent    1463; 8721; 8729   1797       4087         $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                             the Estate of
                             Marian
                                                                                                             02-cv-7230
126 Rosanne     Lang         Michael              Rogers               Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                                 78
                             Paula Lang, as
                             Personal
127 Rosanne     Lang         Representative of    Lang           III   Sibling   1463; 8721; 8729   1797       3987         $    4,250,000.00   $    4,250,000.00 $     12,750,000.00
                             the Estate of
                             William
                             Paula Lang, as
                             Personal
128 Brendan     Lang         Representative of    Lang           III   Parent    1463; 8721; 8729   1797       3987         $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                             the Estate of
                             William
129 Brendan     Lang         Sean                 Lang                 Sibling   1463; 8721; 8729   1797        3987        $    4,250,000.00   $    4,250,000.00   $   12,750,000.00
130 Brendan     Lang         Meghan               Deming               Sibling   1463; 8721; 8729   1797        3987        $    4,250,000.00   $    4,250,000.00   $   12,750,000.00
131 Brendan     Lang         Shanna               Lewis                Sibling   1463; 8721; 8729   1797        3987        $    4,250,000.00   $    4,250,000.00   $   12,750,000.00
132 Brendan     Lang         Paula                Lang                 Parent    1463; 8721; 8729   1797        3987        $    8,500,000.00   $    8,500,000.00   $   25,500,000.00
                                                                                                             02-cv-7230
133 Scott       Larsen       Scott                Larsen               Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
134 Scott       Larsen       Marisa               Larsen               Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
135 Scott       Larsen       Brenda               Larsen               Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
136 Scott       Larsen       August               Larsen               Child       1463: 8723       1797   (S.D.N.Y.) ECF   $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
137 Vincent     Litto        Linda                Litto                Spouse    1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   12,500,000.00   $   12,500,000.00 $     37,500,000.00
                                                                                                                 78
138 Vincent     Litto        Catherine            Litto-Petras         Child     1463; 8721; 8729   1797        3987        $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                             02-cv-7230
139 Vincent     Litto        Kimberly             Rex                  Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
140 Vincent     Litto        Kristen              Serra                Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $    8,500,000.00   $    8,500,000.00 $     25,500,000.00
                                                                                                                 78
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                               Joseph Reitano, as
                               Personal
141 Vincent   Litto            Representative of             Litto                 Parent      1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                               the Estate of
                               Marie
                               Joseph Reitano, as
                               Personal
142 Vincent   Litto            Representative of             Litto                 Parent      1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                               the Estate of
                               Michael
                                                                                                                           02-cv-7230
143 Richard   Lynch            Olivia                        Lynch                 Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                               78
                                                                                                                           02-cv-7230
144 Sean      Lynch            Grace                         Lynch                 Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                               78
                                                                                                                           02-cv-7230
145 Sean      Lynch            Mary                  Rose    Lynch                 Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                               78
                                                                                                                           02-cv-7230
146 Sean      Lynch            Sean                          Lynch           Jr.   Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                               78
147 Sean      Lynch            Rosetta                       Lynch                 Parent      1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
148 Sean      Lynch            Ellen                         Lynch                 Sibling     1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
149 Sean      Lynch            Kieran                        Lynch                 Sibling     1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
150 Sean      Lynch            Brian                         Lynch                 Sibling     1463; 8721; 8729   1797        4087        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
151 Farrell   Lynch            Rosetta                       Lynch                 Parent      1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
152 Farrell   Lynch            Ellen                         Lynch                 Sibling     1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
153 Farrell   Lynch            Kieran                        Lynch                 Sibling     1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
154 Farrell   Lynch            Brian                         Lynch                 Sibling     1463; 8721; 8729   1797        4087        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
155 Brian     Magee            William                       Dowdell               Stepchild   1463; 8721; 8729   1797        5974        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
156 Brian     Magee            Christopher                   Dowdell               Stepchild   1463; 8721; 8729   1797        5974        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
157 Brian     Magee            Matthew                       Dowdell               Stepchild   1463; 8721; 8729   1797        5974        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00

                               Kevin Magee and
                               Shane Magee, as
158 Brian     Magee            Co-Personal                   Magee                 Parent      1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                               Representatives of
                               the Estate of Edith

159 Brian     Magee            Kevin                         Magee                 Sibling     1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
160 Brian     Magee            Shane                         Magee                 Sibling     1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
161 Brian     Magee            Kerry                         Magee                 Sibling     1463; 8721; 8729   1797        5453        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
162 Brian     Magee            Mary                  Alice   Magee                 Sibling     1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
                                                                                                                           02-cv-7230
163 Edward    Maloney    III   Mason                         Maloney               Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                               78
                                                                                                                           02-cv-7230
164 Edward    Maloney          Teddy                         Maloney               Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                               78
165 Edward    Maloney          Edward                        Maloney         II    Parent      1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
166 Edward    Maloney          Sally                         Maloney               Parent      1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
167 Edward    Maloney          Mark                          Maloney               Sibling     1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
168 Edward    Maloney          Sara                          Maloney Duval         Sibling     1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
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                                                                                                              02-cv-7230
169 Terence   John   Manning          Mairead              Manning      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
                                                                                                              02-cv-7230
170 Terence   John   Manning          Trinity              Manning      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
                                      Catherine
                                      Manning, as
                                      Personal
171 Terence   John   Manning                               Manning      Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                      Representative of
                                      the Estate of
                                      Philip
                                      Philip Manning
                                      and Sean
                                      Manning, as Co-
172 Terence   John   Manning          Personal             Manning      Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                      Representatives of
                                      the Estate of
                                      Gertrude
173 Terence   John   Manning          Philip               Manning      Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
174 Terence   John   Manning          Sean                 Manning      Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
175 James            Maounis          William              Maounis      Sibling   1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00

                                      Mary Jane
                                      Maounis and
                                      William Maounis,
176 James            Maounis          as Co-Personal       Maounis      Parent    1463; 8721; 8729   1797       4087         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                      Representatives of
                                      the Estate of
                                      Constance

                                                                                                              02-cv-7230
177 James            Martello         James                Martello     Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
                                                                                                              02-cv-7230
178 James            Martello         Thomas               Martello     Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
179 Charles          Mathers          Marjorie             Kane         Child     1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
180 Charles          Mathers          Elizabeth            Mathers      Child     1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
181 Charles          Mathers          Charles              Mathers      Child     1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                              02-cv-7230
182 Thomas           McHale           Collin               McHale       Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
                                                                                                              02-cv-7230
183 Robert           McLaughlin       Nicholas             McLaughlin   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
184 Robert           McLaughlin       Michael              McLaughlin   Sibling   1463; 8721; 8729   1797        8231        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                              02-cv-7230
185 Edmund           McNally          Erin                 Day          Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
                                                                                                              02-cv-7230
186 Edmund           McNally          Shannon              McNally      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
                                                                                                              02-cv-7230
187 Edmund           McNally          Brienne              McNally      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                  78
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                                                                                                                    02-cv-7230
188 Patricia              Mickley         Marie                     Mickley   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                        78
189 Rajesh                Mirpuri         Indra                     Mirpuri   Parent    1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
190 Laura                 Morabito        Lawrence                  DeFazio   Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
191 Laura                 Morabito        Beverly                   DeFazio   Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
192 Laura                 Morabito        Craig                     DeFazio   Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
193 Laura                 Morabito        Jeffrey                   DeFazio   Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
                                          Patrick Mullan, as
                                          Personal
194 Michael               Mullan          Representative of         Mullan    Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                          the Estate of
                                          Patrick
                                          Patrick Mullan, as
                                          Personal
195 Michael               Mullan          Representative of         Mullan    Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                          the Estate of
                                          Theresa
196 Michael               Mullan          Kelly-Ann                 Mullan    Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
197 Frank         J.      Naples          Barbara                   Naples    Parent    1463; 8721; 8729   1797        8231        $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                    02-cv-7230
198 Christopher           Newton          Sarah                     Newton    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                        78
                                                                                                                    02-cv-7230
199 Christopher           Newton          Michael              L.   Newton    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                        78
200 Christopher           Newton          Michael                   Newton    Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
201 Christopher           Newton          Barbara                   Newton    Parent    1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
202 Christopher           Newton          Stephen              A.   Newton    Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
203 Christopher           Newton          Ann-Elizabeth             Rueppel   Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
204 Dennis                O'Berg          Dorothy                   O'Berg    Parent    1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
205 Dennis                O'Berg          Patricia                  O'Berg    Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00

                                          Catherine Grimes,
                                          as Personal
206 Peter                 Ortale                                    Ortale    Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                          Representative of
                                          the Estate of Mary

207 Peter                 Ortale          Catherine                 Grimes    Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
208 Peter                 Ortale          Julia                     Ortale    Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
209 Peter                 Ortale          Mary                      Malitas   Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                                                                                                    02-cv-7230
210 Jane          Marie   Orth            Elizabeth                 Orth      Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                        78
211 Sonia                 Ortiz           Victor                    Ortiz     Child     1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
212 Sonia                 Ortiz           Luis                      Ortiz     Child     1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
213 Frank                 Palombo         Maria                     Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
214 Frank                 Palombo         Margaret                  Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
215 Frank                 Palombo         Daniel                    Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
216 Frank                 Palombo         Thomas                    Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
217 Frank                 Palombo         Frank                     Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
218 Frank                 Palombo         John                      Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
219 Frank                 Palombo         Patrick                   Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
220 Frank                 Palombo         Stephen                   Palombo   Child        1463: 8723      1797        5453        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
221 Frank                 Palombo         Anthony                   Palombo   Child        1463: 8723      1797        8231        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
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                                                                                                                     02-cv-7230
222 Christopher             Panatier         Annie                 Panatier    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
                                                                                                                     02-cv-7230
223 Christopher             Panatier         Christopher           Panatier    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
224 Christopher             Panatier         Patricia              Panatier    Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00

                                             Patricia Panatier,
                                             as Personal
225 Christopher             Panatier                               Panatier    Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                             Representative of
                                             the Estate of Irene

226 Christopher             Panatier         Irene                 Gilmore     Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
227 Christopher             Panatier         Dorothy               O'Neill     Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
228 Christopher             Panatier         James                 Panatier    Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                                                                                                     02-cv-7230
229 Bernard                 Patterson        Scott                 Patterson   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
                                                                                                                     02-cv-7230
230 Bernard                 Patterson        Anna                  Patterson   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
                                                                                                                     02-cv-7230
231 Bernard                 Patterson        Kevin                 Patterson   Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
                                             Kevin Patterson,
                                             as Personal
232 Bernard                 Patterson        Representative of     Patterson   Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                             the Estate of
                                             Owen
                                             Kevin Patterson,
                                             as Personal
233 Bernard                 Patterson        Representative of     Patterson   Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
                                             the Estate of
                                             Kevin
                                                                                                                     02-cv-7230
234 Todd          Douglas   Pelino           Bennett               Pelino      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
                                                                                                                     02-cv-7230
235 Todd          Douglas   Pelino           Anne                  Pelino      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
236 Todd          Douglas   Pelino           Maureen               Pelino      Parent    1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
237 Todd          Douglas   Pelino           Douglas               Pelino      Parent    1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
238 Todd          Douglas   Pelino           Terrence              Pelino      Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
239 Todd          Douglas   Pelino           Matthew               Pelino      Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
                                                                                                                     02-cv-7230
240 Steve                   Pollicino        Celeste               Rose        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
                                                                                                                     02-cv-7230
241 Steve                   Pollicino        Steven                Pollicino   Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                         78
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                                        Douglas Pollicino,
                                        as Personal
242 Steve              Pollicino        Representative of              Pollicino        Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                        the Estate of
                                        Antoinette


                                        Douglas Pollicino,
                                        as Personal
243 Steve              Pollicino        Representative of              Pollicino        Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                        the Estate of
                                        Nicholas

244 Steve              Pollicino        Douglas                        Pollicino        Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $     12,750,000.00

                                        Elaine Miller and
                                        Corinne Krachtus,
245 Daphne             Pouletsos        as Co-Personal                 Pouletsos        Parent    1463; 8721; 8729   1797       4087         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                        Representatives of
                                        the Estate of Irene


                                        Elaine Miller and
                                        Corinne Krachtus,
                                        as Co-Personal
246 Daphne             Pouletsos                                       Pouletsos        Parent    1463; 8721; 8729   1797       4087         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                        Representatives of
                                        the Estate of
                                        James

                                                                                                                              02-cv-7230
247 Jack               Punches          Jeremy                         Punches          Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                                                                                                                  78

248 Jack               Punches          Jennifer                       Punches-Botta    Child     1463; 8721; 8729   1797       4087         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
249 Jack               Punches          Ruth                           Godwin           Parent    1463; 8721; 8729   1797       4087         $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
250 Jack               Punches          Debra                          Godwin           Sibling   1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
251 Jack               Punches          Janet                          Berns            Sibling   1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
252 Jack               Punches          Marcy                  Ilena   Godwin           Sibling   1463; 8721; 8729   1797       5453         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
253 James              Quinn            Noreen                         Quinn            Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
254 James              Quinn            Michael                T.      Quinn            Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
255 James              Quinn            Joseph                         Quinn            Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00

                                        Nancy Holzhauer,
                                        as Personal
256 Gerard             Rauzi                                           Rauzi            Parent    1463; 8721; 8729   1797       4087         $   8,500,000.00   $   8,500,000.00 $     25,500,000.00
                                        Representative of
                                        the Estate of Silvia

257 James              Riches           Rita                           Riches           Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
258 James              Riches           Daniel                         Riches           Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
259 James              Riches           Thomas                         Riches           Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
260 James              Riches           Timothy                        Riches           Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
261 Eric      Thomas   Ropiteau         Lara                           Ropiteau Davis   Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $     12,750,000.00
262 Eric      Thomas   Ropiteau         Jean-Marc                      Ropiteau         Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
263 Kristin   Irvine   Ryan             Stuart                         Irvine           Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00   $   25,500,000.00
264 Kristin   Irvine   Ryan             Kara                   Marie   Irvine           Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
265 Kristin   Irvine   Ryan             Wendy                          Toomey           Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00   $   12,750,000.00
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266 Kristin    Irvine   Ryan               Tracy                       Janess        Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
267 Kristin    Irvine   Ryan               Michelle                    Schleider     Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                                           02-cv-7230
                                                                       Salamone
268 Marjorie            Salamone           Amanda                                    Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                       Olcott
                                                                                                                               78
                                                                                                                           02-cv-7230
                                                                       Salamone
269 Marjorie            Salamone           Ann                 Marie                 Child     1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                       Santillo
                                                                                                                               78
                                           Richard
                                           Champion, as
                                           Personal
270 Marjorie            Salamone                                       Champion      Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                           Representative of
                                           the Estate of
                                           Hubert
                                           Richard
                                           Champion, as
                                           Personal
271 Marjorie            Salamone                                       Champion      Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                           Representative of
                                           the Estate of
                                           Lillian
272 Marjorie            Salamone           Richard                     Champion      Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                                           02-cv-7230
273 John                Salerno            John                P.      Salerno       Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                               78
274 John                Salerno            Jo Ann                      Cohn          Parent    1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
275 John                Salerno            Dina                        Connelly      Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
276 John                Salerno            Michael                     Cohn          Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                                           02-cv-7230
277 Frank               Salvaterra         Isabelle                    Salvaterra    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                               78
                                                                                                                           02-cv-7230
278 Frank               Salvaterra         Gabrielle                   Salvaterra    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                               78
                                                                                                                           02-cv-7230
279 Frank               Salvaterra         Christian                   Salvaterra    Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                               78
280 Frank               Salvaterra         Carmen                      Salvaterra    Sibling   1463; 8721; 8729   1797        4087        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                           Carmen
                                           Salvaterra, as
                                           Personal
281 Frank               Salvaterra                                     Salvaterra    Parent    1463; 8721; 8729   1797       4087         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                           Representative of
                                           the Estate of
                                           Antoinetta
282 Michael             San Phillip        Jill                        Abbott        Child     1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
283 Michael             San Phillip        Carrie                      Spero         Child     1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                               San
284 Michael             San Phillip        Carolyn                     Nanfeldt      Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                               Phillip
285 Craig               Silverstein        Gabriella                   Silverstein   Child       1463: 8723       1797       5453         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
286 Craig               Silverstein        Cameron                     Silverstein   Child       1463: 8723       1797       5453         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00

                                           Laurie Simowitz,
                                           as Personal
287 Barry               Simowitz           Representative of           Simowitz      Parent    1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                           the Estate of
                                           Mollie
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                                  Ellen Brotman and
                                  Susan Brotman, as
                                  Co-Personal
288 Barry         Simowitz                                    Brotman               Sibling       1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                  Representatives of
                                  the Estate of
                                  Renee

289 Christopher   Slattery        Linda                       Slattery              Parent        1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
290 Christopher   Slattery        Daniel                      Slattery              Sibling       1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                              Slattery-
291 Christopher   Slattery        Erin                                              Sibling       1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                              Appelle
292 Heather       Smith           George                      Smith                 Parent        1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
293 Heather       Smith           Judy                        Smith                 Parent        1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                       Michae
294 Heather       Smith           Chad                        Smith                 Sibling       1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                       l
    Won-Hyeong/
295               Song            Frank                       Song                  Sibling       1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
    Daniel
    Won-Hyeong/
296               Song            Julie                       Song                  Sibling       1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
    Daniel
297 Mari-Rae      Sopper          Frank                       Kminek                Stepparent    1463; 8721; 8729   1797       4175         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
298 Mari-Rae      Sopper          Frank                       Kminek                Stepsibling   1463; 8721; 8729   1797       4175         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
299 Mari-Rae      Sopper          Christopher                 Kminek                Stepsibling   1463; 8721; 8729   1797       4175         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
300 Mari-Rae      Sopper          Stacy                       Lupcho                Sibling       1463; 8721; 8729   1797        4087        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                                              02-cv-7230
301 Robert        Spencer         Addison                     Spencer               Child           1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                                  78
                                                                                                                              02-cv-7230
302 Robert        Spencer         Kathryn                     Spencer               Child           1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                                  78
                                                                                                                              02-cv-7230
303 Robert        Spencer         Robert                      Spencer               Child           1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                                  78
304 Robert        Spencer         Robert                      Spencer               Parent        1463; 8721; 8729   1797        4087        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
305 Robert        Spencer         Elizabeth                   Richardson            Sibling       1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00

306 Robert        Spencer         Susan                       Spencer-Craig         Sibling       1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00

307 Robert        Spencer         Jennifer                    Fosburgh              Sibling       1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
308 Robert        Spencer         Michael                     Spencer               Sibling       1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00

                                  Jennifer Fosburgh
                                  and Michael
                                  Spencer, as Co-
309 Robert        Spencer         Personal                    Hayes                 Sibling       1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                  Representatives of
                                  the Estate of
                                  Kathryn

                                                                                                                              02-cv-7230
                                                              Taddonio
310 Michael       Taddonio        Danielle                                          Child           1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                              Miscioscia
                                                                                                                                  78
                                                                                                                              02-cv-7230
311 Michael       Taddonio        Nicole                      Taddonio              Child           1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                                  78
                                                                                                                              02-cv-7230
312 Michael       Taddonio        Michael                     Taddonio        Jr.   Child           1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                                  78
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                              Marc Taddonio
                              and Richard
                              Taddonio, as Co-
313 Michael   Taddonio        Personal                     Taddonio    Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                              Representatives of
                              the Estate of
                              Josephine

                              Marc Taddonio, as
                              Personal
314 Michael   Taddonio        Representative of            Taddonio    Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                              the Estate of
                              Richard
315 Michael   Taddonio        Richard                      Taddonio    Sibling   1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
316 Michael   Taddonio        Lisa                         Crowe       Sibling   1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
317 Michael   Taddonio        Teresa                       Martin      Sibling   1463; 8721; 8729   1797        4087        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                             02-cv-7230
                                                           Terrenzi
318 Brian     Terrenzi        Elizabeth            Brian               Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                           Spring
                                                                                                                 78
319 Nichola   Thorpe          Sharon               Thorpe Hanson       Sibling   1463; 8721; 8729   1797        3987        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
320 Richard   Todisco         Gregory                      Todisco     Child     1463; 8721; 8729   1797       3987         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
321 Richard   Todisco         Lisa                         DeBarbrie   Child     1463; 8721; 8729   1797        3987        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                             02-cv-7230
322 Michael   Tucker          Taylor                       Tucker      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
323 Michael   Tucker          Gaffney                      Tucker      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
324 Michael   Tucker          Morgan                       Tucker      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
325 Michael   Tucker          Alexandra                    Tucker      Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                 78
326 Michael   Tucker          Thomas                       Tucker      Parent    1463; 8721; 8729   1797        4707        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
327 Michael   Tucker          Joan                         Tucker      Parent    1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
328 Michael   Tucker          Susan                        Jenkins     Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
329 Michael   Tucker          Cathy                        Guba        Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
330 Michael   Tucker          John                         Tucker      Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
331 Michael   Tucker          Maureen                      O'Malley    Sibling   1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
332 Michael   Tucker          Christopher                  Tucker      Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                             02-cv-7230
333 Ronald    Vauk            Liam                         Vauk        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                 78
                                                                                                             02-cv-7230
334 Ronald    Vauk            Meaghan                      Vauk        Child       1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                 78
335 Ronald    Vauk            Charles                      Vauk        Sibling   1463; 8721; 8729   1797        4707        $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
336 Ronald    Vauk            Patricia                     Vauk        Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
337 Ronald    Vauk            Dennis                       Vauk        Sibling   1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
338 Ronald    Vauk            Teresa                       Masterson   Sibling   1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
339 Ronald    Vauk            Lynne                        Caba        Sibling   1463; 8721; 8729   1797       4087         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
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                                                                   Vianna
340 Matthew        Vianna             Christine                                  Sibling     1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                   Tenaglia
                                                                                                                         02-cv-7230
341 Garo           Voskerijian        Shont                        Voskerijian   Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
342 Garo           Voskerijian        Isabelle                     Voskerijian   Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                             78
                                                                                                                         02-cv-7230
343 Garo           Voskerijian        Aleene                       Voskerijian   Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                             78
344 Garo           Voskerijian        Zabel                        Voskerijian   Parent      1463; 8721; 8729   1797        4156        $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
345 Garo           Voskerijian        Zaree                        Voskerijian   Sibling     1463; 8721; 8729   1797       4156         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
346 Kenneth        Waldie             Jeffrey                      Waldie        Child       1463; 8721; 8729   1797       5453         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
347 Kenneth        Waldie             Andrew                       Petisce       Stepchild   1463; 8721; 8729   1797       4175         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
348 Kenneth        Waldie             Jack                         Waldie        Sibling     1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                   Waldie
349 Kenneth        Waldie             Jane                                       Sibling     1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                   Wrenshall
350 Kenneth        Waldie             Grace                        McGroarty     Sibling     1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
351 Kenneth        Waldie             Mary                 Louise Waldie Klimm   Sibling     1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
                                                                                                                         02-cv-7230
                                                                   Waldie
352 Kenneth        Waldie             Meredith                                   Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                   Witherspoon
                                                                                                                             78
                                                                                                                         02-cv-7230
353 Kenneth        Waldie             Jonathan                     Waldie        Child         1463: 8723       1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                                                                                                             78

                                      Marcia Weiss, as
                                                                                                                         02-cv-7230
                                      Personal
354 David     T.   Weiss                                           Weiss         Child       1463; 8721; 8729   1797   (S.D.N.Y.) ECF   $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
                                      Representative of
                                                                                                                             78
                                      the Estate of Gina

355 John           Works              Allison              Noble   Works         Child         1463: 8723       1797       5453         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
356 Rodney         Wotton             Allison                      Wotton        Sibling     1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
357 Rodney         Wotton             Allison                      Wotton        Parent      1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
358 Rodney         Wotton             Allison                      Wotton        Sibling     1463; 8721; 8729   1797       4707         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
359 Rodney         Wotton             Allison                      Wotton        Parent      1463; 8721; 8729   1797       4707         $   8,500,000.00   $   8,500,000.00 $   25,500,000.00
360 William        Wren               Allison                      Dalton        Sibling     1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00



361 William        Wren               Allison                      Demme         Sibling     1463; 8721; 8729   1797       3987         $   4,250,000.00   $   4,250,000.00 $   12,750,000.00
